 Case 1:05-cr-00023         Document 48        Filed 11/14/2006       Page 1 of 2

                                                                           FILED
                                                                              Ckrk
LEONARD0 M. RAPADAS                                                        OktMl C O U ~ ~
United States Attorney
TIMOTHY E. MORAN
Assistant United States Attorney
DISTRICT OF THE NORTHERN                                           ForThe NorthernManana 1Jands
  MARIANA ISLANDS                                                  BY
Horiguchi Building, Third Floor                                             (Deputy Clerk)
P.O. Box 500377
Saipan, MP 96950
Telephone: (670) 236-2982
Fax:         (670) 236-2985
Attorneys for United States of America
                               UNITED STATES DISTRICT COURT
                                   NORTHERN MARIANA ISLANDS
UNITED STATES OF AMERICA,                         Criminal Case No. 05-00023
                      Plaintiff,
       v.
                                           1      STIPULATION RE: SENTENCING DATE

JUAN QUITUGUA,




                      Defendant.



       IT IS HEREBY STIPULATED AND AGREED by and between the United States of
America, by Leonardo M. Rapadas, United States Attorney, Timothy E. Moran, Assistant United
States Attorneys, of counsel, and Juan Quitugua, the defendant, by and through his attorney, G.
Anthony Long, Esq., that that the sentencing now scheduled for Wednesday, November 15,2006 at
9:00 a.m. shall be rescheduled for Thursday, February 15,2006 at 9:00 am, so that the defendant
may have a further opportunity to cooperate with the government. The parties further request that
///
 Case 1:05-cr-00023          Document 48     Filed 11/14/2006     Page 2 of 2



the court enter the attached order.




DATED:       i(-/l(-~-\~


                                                LEONARD0 M. RAPADAS
                                                United States Attorney
                                                District of the Northern Mariana Islands


DATED:  -'                                                                d




                                      Bv :      TIMOTHY EPMORAN
                                                Assistant U.S. Attorney
